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            EXHIBIT 4
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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   1                                   Declaration of Ike Brannon
   2
          1. I am currently an economist who is president of the consulting firm Capital Policy
   3         Analytics. I also have an affiliation with the Cato Institute.
   4
          2. I received my MA and Ph.D. in Economics from Indiana University.
   5
          3. I was an economics professor in the University of Wisconsin System from 1994-2002.
   6
             In 2001 I was given tenure and promoted to associate professor.
   7
          4. Since then I have worked in Washington DC, for (in order) the Office of Management
   8
             and Budget, the Congressional Joint Economic Committee, THe Senate Finance
   9         Committee, The U.S. Treasury, and the House Energy and Commerce Committee.

  10
          5. In 2008 I was chief economist for the John McCain for president campaign.
  11
          6. My coauthor, Logan Albright, received his Master's Degree in economics in 2011 from
  12
             Georgia State University, and has worked as a policy analyst in Washington, DC for the
  13         last five years, including positions at think tanks and policy organizations such as the
             American Action Forum, Freedom Works, Free the People, and Capital Policy
  14
             Analytics.
  15
          7. Whereas the President has expressed a desire to end Deferred Action for Childhood
  16
             Arrivals (DACA) program, we conducted a thorough investigation of the economic and
  17         fiscal costs that such action would impose on the federal government, and to the
             economy as a whole and published that research in January 2017.
  18

  19      8. We recently updated this analysis to break down these costs by state, using survey data
             from DACA recipients.
  20

  21      9. My co-author Logan Albright and I began our analysis by comparing DACA recipients
             to those immigrants who hold H-lB visas. These are high-skilled, well-educated
  22         immigrants who are demographically analogous to DACA students, all of whom must
  23         necessarily enroll in higher education programs in order to be eligible.

  24      10. The average DACA recipient is 22 years old, employed, and a student. 17 percent of
  25          them are on track to complete an advanced degree. The college attrition rate of DACA
              recipients is miniscule compared to domestic students, an indication of the exceptional
  26

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   1          caliber of the DACA students. H-lB holders are generally between 25 and 34,
              employed, and most have completed degrees. In short, we posit that they look like what
   2
              DACA recipients will look like in a few years' time.
   3
           11. We begin our analysis by using a study from the Hoover Institute 1 on the economic
   4
               impact of expanding the H-lB visa program as our baseline. We adjusted that estimate
   5           by the difference in the number of recipients and the difference in income. To conform
               to Congressional budget procedures we compiled a ten year aggregate cost.
   6

   7       12. We determined that, ifDACA recipients were completely analogous to H-lB holders,
               their removal would constitute a budgetary loss of $127 billion and a GDP loss of $512
   8
               billion.
   9
           13. We adjusted for the fact that DACA recipients, being younger and not completely done
  10
               with their education, earn on average roughly 43 percent of what H-lB holders earn.
  11           What's more, the population ofDACA recipients is about 750,000, compared to the
               660,000 H-lB holders the Hoover study examined, so we adjusted for these
  12
               differences.
  13
           14. From this, we determined that, over a ten-year window, a repeal ofDACA would cost
  14
               the federal government $60 billion in lost revenue, and the economy as a whole $215
  15           billion in lost GDP.

  16
           15. As a way of confirming our result, we consulted a study from the National Research
  17           Council that estimated the average long-term fiscal impact for immigrants who remain
               in the country for an extended period of time. This result coincided with our own nearly
  18
               perfectly ($59.3 billion versus our $60 billion).
  19
           16. There are DACA recipients in 35 states and the District of Columbia. Using survey data
  20           from the Center for American Progress, 2 we estimated the total cost of repealing DACA
  21           for each of the relevant states, based on the proportion of DACA recipients who live
               locally.
  22
       1
         Thomas Church, Estimating the Economic and Budgetary Effects of New Hl-B Visas in the
  23
       Senate Gang of Eight's Proposed Immigration Bill, Hoover Institution (May 7, 2013)
  24
       2
  25    Tom K. Wong, National Immigration Law Center, and Center for American Progress,
       Results from National Survey of DACA recipients,
  26

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   1
          17. Of the 50 states, California will bear the highest cost, with over 30 percent of DACA
   2
              recipients. Factoring in budgetary and economic effects, California's total cost over a
   3          ten year window would be $84.2 billion (See Table 1).

   4
          18. It is important to note that these estimates are conservative, as DACA recipients will
   5          likely end up being more productive than their current salaries indicate, as they age and
              complete their degrees. Nor does this analysis factor in the enforcement cost of
   6
             physically deporting recipients, should the program be eliminated.
   7
          19. In summary, the repeal or rollback of the DACA program would have a significant and
   8
              negative fiscal and economic impact-on the country, and would disproportionately
   9          affect the various states in which DACA recipients are most prevalent.

  10
       I declare under penalty of perjury under the laws of the state of Washington that the foregoing
  11   is true and complete to the best of my knowledge.

  12
                                                                                    ~-0-~
  13                                                               Ike Brannon, Ph.D.

  14
                                                                                    8/31/2017
  15
                                                                   Date
  16

  17                        Table 1: Cost of DACA Repeal By State 2018-2028

  18    State    Budget Cost (Millions $)     Economic Cost (Millions $)         Total Cost (Millions$)

  19    AL       258                          924.5                              1,182.5

  20    AZ       2,826                         10,126.5                          12,952.5

  21    CA       18,372                       65,833                             84,205

  22    co       768                          2,752                              3,520

  23    CT       642                          2,300.5                            2,942.5

  24    DC       900                           3,225                             4,125

  25    DE       258                           924.5                             1, 182.5

  26

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   1
       FL      5,910                   21,177.5               27,087.5
   2
       GA      1,158                   4,149.5                5,307.5
   3
       HI      126                     451.5                  577.5
   4
       IA      258                     924.5                  1,182.5
   5
       IL      1,926                   6,901.5                8,827.5
   6
       IN      642                     2,300.5                2,942.5
   7
       KS      384                     1,376                  1,760
   8
       MA      258                     924.5                  1,182.5
   9
       MD      642                     2,300.5                2,942.5
  10
       MI      768                     2752                   3,520
  11
       MN      126                     451.5                  577.5
  12
       MO      126                     451.5                  577.5
  13
       NE      126                     451.5                  577.5
  14

  15
       NJ      384                     1,376                  1,760

  16   NM      258                     924.5                  1,182.5

  17   NV      126                     451.5                  577.5

  18   NY      10,794                  38,678.5               49,472.5

  19   NC      2,184                   7,826                  10,010

  20   OH      126                     451.5                  577.5

  21   OK      126                     451.5                  577.5

  22   OR      384                     1376                   1,760

  23   PA      258                     924.5                  1,182.5

  24   SC      258                     924.5                  1, 182.5

  25   TN      258                     924.5                  1, 182.5
  26

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   1
        TX     5,142                   18,425.5               23,567.5
   2
       UT      384                     1,376                  1,760
   3
       VA       1,026                  3,676.5                4,702.5
   4
       WA       1,800                  6,450                  8,250
   5

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